
993 A.2d 626 (2010)
413 Md. 520
ATTORNEY GRIEVANCE COMMISSION OF MARYLAND, Petitioner
v.
C. Trent THOMAS, Respondent.
Misc. Docket AG, No. 80 September Term, 2009.
Court of Appeals of Maryland.
April 20, 2010.

ORDER
The Court of Appeals of Maryland, having considered the Joint Petition of the Attorney Grievance Commission of Maryland, Petitioner, and C. Trent Thomas, Respondent, to suspend the Respondent's right to practice law in Maryland for a period of sixty (60) days, it is this 20th day of April, 2010,
ORDERED, that the Joint Petition be, and it is hereby GRANTED, and the Respondent, C. Trent Thomas, is suspended from the practice of law for a period of sixty (60) days to commence immediately, and it is further,
ORDERED, that the Clerk of this Court shall strike the name of C. Trent Thomas from the register of attorneys, and shall certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this State in accordance with Maryland Rule 16-772.
